




02-11-432-CV








&nbsp;




 
  
  
   
    
    &nbsp;
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  
 




&nbsp;

&nbsp;

NO. 02-11-00432-CV 

&nbsp;

&nbsp;




 
  
  In re Hope McClendon
  
  
  &nbsp;
  
  
  RELATOR
  
 




&nbsp;

&nbsp;

------------

&nbsp;

ORIGINAL PROCEEDING

------------

MEMORANDUM
OPINION[1]

------------

The
court has considered relator’s petition for writ of mandamus and motion for temporary
relief and is of the opinion that relief should be denied.&nbsp; Accordingly,
relator’s petition for writ of mandamus and motion for temporary relief are
denied.

PER CURIAM

&nbsp;

PANEL:&nbsp;
WALKER, J.; LIVINGSTON, C.J.; and DAUPHINOT, J.

&nbsp;

DELIVERED:&nbsp;
October 19, 2011









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [1]See
Tex. R. App. P. 47.4, 52.8(d).







